
524 P.2d 988 (1974)
86 N.M. 372
LOFFLAND BROTHERS COMPANY, Employer, and The Travelers Insurance Company, Insurer, Petitioners,
v.
Barbara Lou LIVINGSTON, Individually and as Parent and Natural Guardian of Richard Scott Livingston, a minor, Respondent.
No. 10062.
Supreme Court of New Mexico.
July 12, 1974.
Ordered that petition for writ of certiorari be and the same is hereby denied.
Further ordered that the record in Court of Appeals, 86 N.M. 375, 524 P.2d 991, be and the same is hereby returned to the Clerk of the Court of Appeals.
